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        United States Court of Appeals
             for the Fifth Circuit
                             ___________

                              No. 23-10994
                             ___________

Spectrum WT; Barrett Bright; Lauren Stovall,

                                                    Plaintiffs—Appellants,

                                  versus

Walter Wendler; Dr. Christopher Thomas; John Sharp;
Robert L. Albritton; James R. Brooks; Jay Graham; Tim
Leach; Bill Mahomes; Elaine Mendoza; Michael J.
Plank; Cliff Thomas; Demetrius L. Harrell, Jr.;
Michael A. Hernandez, III,

                                        Defendants—Appellees.
               ______________________________

              Appeal from the United States District Court
                  for the Northern District of Texas
                        USDC No. 2:23-CV-48
              ______________________________

                      UNPUBLISHED ORDER

Before Stewart, Clement, and Engelhardt, Circuit Judges.
Per Curiam:
      A member of this panel previously DENIED the opposed motions of
Southern Methodist University Dedman School of Law First Amendment
Clinic, Secular Student Alliance, American Civil Liberties Union of Texas,
and Equality Texas to file amicus curiae briefs. The panel has considered
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                               No. 23-10994




Southern Methodist University Dedman School of Law First Amendment
Clinic, Secular Student Alliance, American Civil Liberties Union of Texas,
and Equality Texas’s opposed motion for reconsideration.
      IT IS ORDERED that the motion is GRANTED.




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